This is a direct appeal to this court from the judgment on the judgment-roll alone.
The complaint alleges that the property, for the recovery of which the action was brought, is of the value of $6,000, and demands judgment for that sum in case a delivery thereof cannot be had.
It is the settled rule in this state that "where jurisdiction depends on the amount in controversy, the ad damnum clause *Page 368 
of the complaint is the sole test." (Hanigan v. Ervin, 110 Cal. 37, [42 P. 457].) This court has appellate jurisdiction in such cases at law only where "the demand exclusive of interest, or the value of the property in controversy amounts to three hundred dollars, and does not amount to two thousand dollars." (Const., art. VI, sec. 4.)
The cause was, therefore, erroneously brought to this court by direct appeal, and will have to be transferred to the supreme court.
Such is the order.
Chipman, P. J., and Burnett, J., concurred.